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                                                                          U.S. DIST. COURT
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                                                                                         FEB 1 4 2020
                     IN THE UNITED STATES DISTRICT COURT Juu
                     FOR THE WESTERN DISTRICT OF VIRGINIA sy;
                              DANVILLE DIVISION

   UNITED STATES OF AMERICA,                  )
                                              )       Case No. 4:18-cr-00012
   v.                                         )
                                              )
   JALEN CORMARRIUS TERRY,                    )
                                              )       By:   Michael F. Urbanski
          Defendant.                          )       Chief United States District Judge

                                             ORDER

          This matter comes before the court in response to a letter received by the court from

   counsel for defendant J alen Terry, attached hereto as Exhibit A. Pursuant to Mr. Terry's

   request, the court will dismiss as moot ECF Nos. 435, 436, 439, 485, and 486. Further,

   pursuant to Mr. Terry's request, the court will defer for at least 60 days any consideration of

   ECF No. 474. Finally, pursuant to Mr. Terry's request, the court will hear argument on ECF

   Nos. 479 and 487 at the scheduled March 6, 2020 hearing.

          Accordingly, the court DISMISSES as moot ECF Nos. 435, 436, 439, 485, and 486;

   DEFERS consideration of ECF No. 474 for at least 60 days, until no earlier than April 13,

   2020; and DIRECTS the parties that argument related to ECF       os. 479 and 487 will be heard

   at the scheduled March 6, 2020 hearing.

          It is so ORDERED.


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                                              Chityrnted States District Judge
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                                   EXHIBIT A




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                                                                  February 12, 2020



         BY ELECTRONIC MAIL

         The Honorable Michael F. Urbanski
         ChiefUnited States District Judge
         United States District Court
         210 Franklin Road, S.W., Suite 350
         Roanoke, Virginia 24011-2208

         Re :     United States v. Jalen Cormarrius Terry
                  Case No. 4:18CR00012

         Dear Judge Urbanski:

         Thank you for the Court 's inquiry of February II , 2020, with respect to the pretrial motions
         designated on the docket as ECF Nos. 435, 43 6, 439, 474, 479, 485, 486, and 487. These pretrial
         motions ,.vere filed by another counsel of record on behalf of all defendants.

         Mr. Terry abandons ECF Nos. 435, 436, 439, 485 , and 486. Mr. Terry asks the Court to defer
         for at least 60 days any consideration of ECF No. 474. See ECF No. 474, Page id #: 2684, ~ 5
         ("Should the Government provide some context and explanation as to the authenticity,
         foundation and completeness of each of the I ,56 1 trial exhibits it disclosed and caused each
         defendant to review, it is possible the defendants and the Government may be able to resol ve
         these issues.") .

         Mr. Terry proposes that the Court on March 6, 2020, take up ECF Nos. 4 79 and 48 7.

         Thank you for noting Mr. Terry's position on these pretrial motions.




         PGB:tgm:2342041
         c:    Heather L. Carlton, Esq. (By Electronic Mail)
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                                                                        MERITAS'
